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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

  IN RE:                                        §                              CHAPTER 11
                                                §
  J.A.R. CONCRETE, INC.,                        §
                                                §                      CASE NO. 23-30242-hcm
  DEBTOR.                                       §


                                    NOTICE OF HEARING

          PLEASE TAKE NOTICE that a hearing has been set for Tuesday, June 27, 2023, at
  1:00 p.m. (MT) upon the creditor United States Fire Insurance Company’s Amended Motion for
  Relief from Automatic Stay [Docket 208]. Parties in interest should join through Cisco WebEx
  Meetings application us-courts.webex.com/meet/Mott or dial in to 650-479-3207 with access
  code 160 357 6609# and make themselves heard, or the Court may presume there is no opposition,
  and grant the relief requested.

         DATED:        June 22, 2023.

                                             Respectfully submitted,

                                             /s/ Gregory M. Weinstein
                                             GREGORY M. WEINSTEIN
                                             Texas State Bar No. 21096430
                                             SCOTT MCFADIN
                                             Texas State Bar No. 24098074

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                                             UNITED STATES FIRE INSURANCE
                                             COMPANY




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on June 22, 2023, a true and correct copy of the foregoing was filed
  electronically via the Court’s CM/ECF system. Notice of this filing will be sent by operation of
  the Court’s electronic filing system to all parties indicated on the electronic receipt. Parties may
  access this filing through the Court’s electronic filing system.


                                                /s/ Gregory M. Weinstein
                                                Gregory M. Weinstein




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